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                          UNITED STATES DISTRICT CO URT
                          SO UTHERN DISTRICT O F FLO RIDA
                                CO URTROO M M INUTES

                          Before:The Honorable Jam es I Cohn

  Case Nos.:07-22459-CIV-CO HN/SELTZER:08-21063-CIV-CO HN/SELTZER

  Date:2/16/2018

  Clerks:P.Jordan and E.Kav                     Repoder:K.Shires

  Title ofCase No.07-22459:Elov Roias M am ani,etaI.,v.José Carlos Sénchez Berzain
  Title ofCase No.08-21063:Eloy Boias M am ani,etal.,v.Gonzalo QanielSénchez de
  Lozada Sénchez Bustamante

  CounselforPlaintiffs:Ilana Tabacinic (Akerm an LLP).
                                                     'PaulL.Hoffm an (Schonbrun
  Senlow Harris & Hoffm an,LLPI'
                               ,Josenh L.Sorkin (Akin G um p Strauss Hauer& Feld

  LLPI'
      ,Judi
          th Brown Chom skv (CenterforConstitutionalRiqhtsl'
                                                           ,TvlerR.G ianniniand

  Susan H.Farbstein (lnternationalHum an Rinhts Clinic,Harvard Law School)
  CounselforDefendants:Evan B.Bem er(Becker& Poliakoff.P.A.),
                                                            'Stephen D.Raber,

  Ana C.Reves,and Jam es E.Gillenwater(W illiam s & Connollv LLP)

  Type ofHearing:Status Conference

  Resul
      tofHearing:1.The Coud heard arqum enton Plaintiffs'M otion to Allow Testim onv

  atTrialbv Videoconference.orin the Alternative.to Allow TrialDepositions,and to Set

  Status Conference fDE 393 in No.07-22459:DE 369 in No.08-210631(''M otion''). For
  the reasons stated in open Coud and as detailed in a separate Orderfiled this date,

  Plaintiffs'M otion w as GRANTED IN PART and DENIED IN PART.

  2.The Coud RESET CalendarCallforThursdav,March 1.2018 at1:30 pvm .
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  3.The deadline forthe padies to file theirpretrialstinulation was EXTENDED to

  W ednesdav,Februarv 28.2018. The Coud G RA NTED the padies'recuestto dispense

  w ith a statem entofdisputed facts in theirpretrialstipulation.

  4.The Coud ORDERED Plaintiffs to provide to Defendants,on orbefore noon on

  M ondav,Februarv 19,2018,allEnnlish translations m ade oftestimonv from the Trialof

  Responsibilities.

  Tim e:1 hour,40 m inutes (8:45 a.m .to 9:35 a.m .'
                                                   .10:02 a.m .to 10:52 a.m .)
